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                   IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION



UNITED STATES OF AMERICA                                                     PLAINTIFF


v.                             NO. 4:15-cr-00095-KGB-1


TERENCE GORDON                                                              DEFENDANT




                                        ORDER


      On November 6, 2015, the Court conducted a hearing to determine whether

defendant Terence Gordon (“Gordon”) should be released on bond pending trial. It was

determined that there were no conditions under which he could be released, and he was

therefore remanded to the custody of the United States Marshal pending trial.

      Gordon has now filed the pending motion for reconsideration of bond. See

Document 58. In the motion, he offered what he purports to be new information,

information not presented during the November 6, 2015, hearing and information that

allegedly supports the reconsideration of the decision to detain him pending trial.

      The United States of America (“USA”) opposed the motion. It is the position of the

USA that the information Gordon offered in support of his motion is either not new or

otherwise not material to the question of whether he should be released pending trial.
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      The Court reviewed the USA’s response and determined that a reply brief from

Gordon would be beneficial. He subsequently filed a reply brief and addressed the

question of “what new evidence, not available at the time of the detention hearing,

would be presented were the Court to re-open its bond determination.” See Document

62 at CM/ECF 1. He answered that question as follows:


            The only new evidence that may have some bearing on a bond
      hearing is a purported affidavit that [Gordon] forwarded to [his defense
      counsel] today that is allegedly from [Gordon’s] co-defendant, Turod
      Jacobs. ...

             Evidence was presented at the bond hearing on November 6, 2015,
      where it was claimed that Turod Jacobs gave a statement implicating
      [Gordon] in a kidnaping and assault incident where a safe containing
      firearms was removed.

             The affidavit purports that [Gordon] was at Jacobs’ home sleeping
      at the time of the alleged kidnaping incident. The affidavit also purports
      that two other individuals actually committed the crime. The affidavit
      further purports that Jacobs and [Gordon] were later made aware of the
      safe and did attempt to assist in opening the safe. [Gordon’s defense
      counsel] acknowledges that the alleged affidavit can’t be verified since it
      bears no signature at the bottom and was not notarized.

             [Gordon’s defense counsel] has forwarded a copy of the purported
      affidavit to Rick Holliman, counsel for defendant Jacobs. [Gordon’s defense
      counsel] has not talked to Turod Jacobs about the truthfulness of the
      alleged affidavit since [Jacobs] is represented by counsel.

            If the affidavit proves to be accurate, it will, for purposes of the
      bond hearing, refute the previous evidence presented that [Gordon’s] prior
      conduct is such that he should be considered a danger to himself or others.


See Document 62 at CM/ECF 1-2.

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      After thoroughly considering the parties’ pleadings and exhibits, the Court finds

that Gordon’s motion for reconsideration of bond should be, and is, denied. Save the

purported affidavit submitted by Gordon, the information he offers in support of his

motion is either not new or otherwise not material to the question of whether he should

be released pending trial. It is true that the purported affidavit is new information, but

the Court gives it little weight and finds it unpersuasive. It is unclear who prepared the

purported affidavit, and specifically, whether it was prepared by Gordon’s co-defendant.

Assuming, arguendo, that Gordon’s co-defendant prepared the affidavit, the

representations contained in it are suspect as they are contrary to the statements

Gordon’s co-defendant previously made regarding Gordon’s involvement in the criminal

conduct giving rise to this indictment.

      IT IS SO ORDERED this 9th day of August, 2016.




                                             UNITED STATES MAGISTRATE JUDGE




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